Case 2:02-CV-02891-BBD Document 92 Filed 05/12/05 Page 1 of 3 Page|D 127

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IN THE UNITED STATES DISTRICT CoURT m PH 9_ 33
FoR THE WESTERN DISTRICT oF TENNESSEE 05 "‘…' 12 '- “'

WESTERN DIVISION ROEW meal
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JIT CONCEPTS, INC.,
Plaintiff, Case No.: 02-2891 D V
v.
SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEMPHIS,

Defend ant.

 

ORDER DENYING MOTION IN LIMINE TO EXCLUDE THE MEMORANDUM
OF SEPTEMBER 3, 2002

 

IT APPEARlNG TO THE COURT that the motion of Plaintiff, JIT Concepts, lnc., to
Exclude the Memorandum of September 3, 2002, attached as Exhibit 1 to the motion, is not well-
founded and therefore Should be DENIED.

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the motion in limine

to exclude the Memorandum of September 3, 2002, is DENIED.

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B§NICE BOU'IE;DONALD §

UNITED STATES DISTRIC'I` JUDGE

Th!s document entered on the docket sheet ln

with R“'° 58 and/or 79(3) FRcP on Us q Q“

 

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This notice confirms a copy of the document docketed as number 92 in
case 2:02-CV-02891 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

